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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                       :
STEFAN MATZINGER and MONTSERAT         :
PERDOMO,                               :              17cv4813 (DLC)
                         Plaintiffs,   :
                                       :            OPINION AND ORDER
               -v-                     :
                                       :
MAC II, LLC; FANUKA, INC.; NORANDA     :
SPECIAL PROJECTS, LLC; LICO            :
CONTRACTING, INC.; and TECDSIGN, LLC, :
                                       :
                         Defendants.   :
                                       :
-------------------------------------- :
                                       :
MAC II, LLC,                           :
                                       :
               Third-Party Plaintiff, :
                                       :
               -v-                     :
                                       :
FANUKA, INC. and TECDSIGN, LLC,        :
                                       :
              Third-Party Defendants. :
                                       :
-------------------------------------- X

APPEARANCES:

For Third-Party Plaintiff:
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For Third-Party Defendant Fanuka, Inc.:
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For Third-Party Defendant TecDsign, LLC:
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McMacnus Ateshoglou Adams Aiello & Apostolakos PLLC
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DENISE COTE, District Judge:

    On February 8 and 12, 2018, third-party defendants Fanuka,

Inc. (“Fanuka”) and TecDsign, LLC (“TecDsign”) moved to dismiss

the amended third-party complaint pursuant to Rule 12(b)(6),

Fed. R. Civ. P.   For the following reasons, the motions to

dismiss are granted in part.

                              BACKGROUND

    The following facts are taken in the light most favorable

to defendant/third-party plaintiff MAC II, LLC (“MAC II”).             MAC

II is an interior design firm based in New York, New York.

Third-party defendant Fanuka, is a renovation contractor with

its principal place of business in Maspeth, New York.         Third-

party defendant TecDsign is a home automation design and

installation firm based in Ramsey, New Jersey.

    On April 25, 2008, MAC II entered into a contract with

plaintiffs Stefan Matzinger and Montserrat Perdomo (the

“Matzingers”) to oversee and manage the renovation of the

Matzingers’ approximately 2,000 square-foot apartment.         MAC II’s

duties pursuant to the contract involved design work, purchase

of materials, and project management, including contracting and

supervising the many contractors and subcontractors involved in

the renovation.   MAC II maintains that it “did not undertake or




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perform any actual construction, renovation, or repair work of

any kind” during the renovation.

    From April 2010 to July 2011, pursuant to a series of

purchase orders, MAC II retained Fanuka to serve as the general

contractor of the renovation.        Fanuka’s duties, along with the

duties of its various subcontractors, included “general

construction, general renovation, renovations and construction

of closets, renovations of bathrooms,” renovations of bedrooms,

“general millwork, wood flooring, base molding, and stone

work/marble slab installation.”

    In the summer of 2011, MAC II announced the completion of

the renovation and billed the Matzingers more than $1.5 million

for the design work, materials, and project management services.

$616,759.94, in turn, was paid to Fanuka.

    Soon after moving into their renovated apartment, the

Matzingers discovered several problems with the construction

work.    According to the Matzingers’ complaint, the air

conditioning units Fanuka installed produced hot air instead of

cool air, and the radiant heating in the bathrooms was

mistakenly installed upside-down.         Upon learning of these

errors, Fanuka made attempts to repair them, charging for the

effort and, allegedly, causing further damage to the Matzingers’

bathroom floor in the process.        Even after Fanuka’s repairs,

over the next year, the Matzingers discovered additional items



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that were incorrect or incomplete, including loose door handles,

one of which fell off and dented the floor of the apartment.           On

June 13, 2013, a walk-through inspection revealed additional

problems with the HVAC, masonry, and millwork, as well as

evidence of water damage to the wood flooring and base molding,

which the Matinzgers claim was caused by poor workmanship by the

installer.

    In July 2015, MAC II, also pursuant to purchase orders,

hired TecDsign to install an audio/visual system including

motorized window shades and automated television equipment and

speakers.    These automated systems, the Matzingers contend,

“never functioned properly and still do not function properly to

this day.”   As of the filing of this litigation, MAC II has paid

TecDsign at least $203,117.23, but the automated systems still

require significant and costly repairs and replacements,

rendering the system unusable.     In at least two instances, the

defective shades fell and damaged some aspect of the apartment.

Seven years and more than $7 million after the project began,

the renovation and its associated repairs are incomplete.

    On September 8, 2017, the Matzingers filed suit against MAC

II and its various subcontractors, including Fanuka and

TecDsign, claiming over $7 million in damages.        The Matzingers’

allegations against MAC II included breach of contract, breach

of fiduciary duty, fraud, and negligence.       The Matzingers also



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claimed breach of contract and negligence against both Fanuka

and TecDsign, but on September 21, 2017 and September 25, 2017,

Fanuka and TechDsign, respectively, moved to dismiss the

Matzingers’ claim pursuant to Rule 12(b)(6), Fed. R. Civ. P.           On

November 9, 2017 both motions were granted, on the ground that

the allegations of the complaint failed to establish a

sufficient contractual relationship between the Matzingers and

Fanuka and TecDsign.    In addition, the Matzingers’ breach of

fiduciary duty, fraud, and negligence claims against MAC II were

also dismissed on November 9, leaving only their claim for

breach of contract.

    On December 22, 2017, MAC II commenced a third-party action

against Fanuka and TecDsign alleging causes of action for (i)

common law indemnification or partial indemnification; (ii)

apportionment and/or contribution; and (iii) contractual

indemnification.   Specifically, MAC II contends that Fanuka and

TecDsign are responsible for the damage and delays alleged in

the Matzingers’ First Amended Complaint.       It contends that they

should accordingly be liable to MAC II to the extent MAC II is

held liable to the Matzingers.

    After a motion to dismiss and an amendment, on February 8,

2018, Fanuka filed a renewed motion to dismiss MIC II’s claims

in its amended third-party complaint.       On February 12, 2018,

TecDsign followed suit.



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                              DISCUSSION

     The standard on a motion to dismiss is well-established.

“To survive a motion to dismiss, a complaint must contain

sufficient factual matter, accepted as true, to ‘state a claim

to relief that is plausible on its face.’”       Ashcroft v. Iqbal,

556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly,

550 U.S. 544, 570 (2007)); Fed. R. Civ. P. 12(b)(6).          This

standard is met “when the plaintiff pleads factual content that

allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.”        Id.    A court

must not dismiss a complaint for failure to state a claim if the

factual allegations sufficiently “raise a right to relief above

the speculative level.”    Twombly, 550 U.S. at 555.

I. Common Law Indemnity

     MAC II first asserts claims for common law indemnity

against Fanuka and TecDsign.     Under New York law,1 common law

indemnity will generally be available “in favor of one who is

held responsible solely by operation of law because of his

relation to the actual wrongdoer.”      McCarthy v. Turner Const.,

Inc., 17 N.Y.3d 374, 375 (2011) (citation omitted).         “[A] party

cannot obtain common law indemnification unless it has been held

to be vicariously liable without proof of any negligence or




1 The parties agree that New York law governs the resolution of
these claims.


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actual supervision on its own part.”      Id. at 377-78.     Courts in

this district have routinely held that parties who breach a

contract are not liable solely by operation of law, or

vicariously, such that a claim for common law indemnity will not

be available.   See U.S. Bank, Nat. Ass’n v. Commonwealth Land

Title Ins. Co., 2015 WL 1291151, at *3 (S.D.N.Y. 2015)

(collecting cases).

    MAC II is unable to state a claim for common law indemnity

because its potential liability stems only from breach of its

contract with the Matzingers.     As a result of the November 9

rulings, the sole remaining claim in this case against MAC II is

for breach of contract.    If MAC II is found liable on that

claim, MAC II would be at fault for breaching its contract, and

thus, its liability would be more than vicarious or solely by

operation of law.   Under New York law, such degree of fault,

even if slight, precludes claims for common law indemnity.

    MAC II contends that Fanuka and TecDsign were solely

responsible for the defective construction work that caused

their breach and led to the Matzingers’ damages.        Even if that

allegation is proven, however, for MAC II to be liable in this

case, the Matzingers must prove that MAC II breached the

contract, and that the damages that the Matzingers suffered are

the result of that breach.     A breaching party cannot shift its

potential liability through the device of common law indemnity,



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which only arises in cases where the liability is vicarious or

by operation of law.       Accordingly, the claims for common law

indemnity must be dismissed.

II. Contribution and Apportionment

    MAC II also seeks contribution and apportionment against

TecDsign and Fanuka.       New York law limits claims for

contribution to tort actions, in circumstances when “two or more

persons [are] subject to liability for damages for the same

personal injury, injury to property or wrongful death.”             CPLR §

1401.    A party cannot claim contribution when the liability upon

which the contribution claim is based derives “solely from

breach of contract.”       Bd. of Educ. of Hudson City Sch. Dist. v.

Sargent, Webster, Crenshaw & Folley, 71 N.Y.2d 21, 28 & n.2

(1987).

    MAC II is unable to state a claim for contribution because,

while it is beyond dispute that the Matzingers’ apartment

sustained physical damage as a result of the renovation, the

only remaining cause of action between the Matzingers and MAC II

is for breach of contract.        Thus, contribution is not available

to MAC II because its potential liability stems from a contract

cause of action, and not a tort cause of action.           Accordingly,

the claims for contribution and apportionment must be dismissed.




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III. Contractual Indemnification

    MAC II finally claims that it is entitled to implied

contractual indemnification on the theory that TecDsign and

Fanuka implicitly agreed to indemnify MAC II for any damages

arising out of their work on the renovation.        When there is no

express right to indemnification in an agreement, an implied

right may nonetheless exist based on the “special nature of the

contractual relationship between the parties.”        Peoples’

Democratic Republic of Yemen v. Goodpasture, Inc., 782 F.2d 346,

351 (2d Cir. 1986).    New York contract law recognizes that a

special relationship exists between and contractors and

subcontractors on construction projects such that

    a general contractor is permitted to recover from a
    subcontractor whatever damages it might have incurred
    as a result of the breach of the subcontract. Where a
    subcontractor on a construction project defaults in
    performing its obligations pursuant to its
    subcontract, it generally will be held bound to
    indemnify the general contractor against any damage he
    might suffer under his contract with the owner.

Menorah Nursing Home, Inc. v. Zukov, 153 A.D.2d 13, 24 (2d Dep’t

1989) (citation omitted).     MAC II’s allegations suffice to state

a claim for implied contractual indemnification because MAC II

is potentially liable on its contract for the alleged breaches

caused by its subcontractors.

    Fanuka claims that it, and not MAC II, served as general

contractor, and therefore that Menorah does not control.          The

principle outlined in Menorah applies with equal force here


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given the division of the responsibilities between Mac II and

Fanuka.   TecDsign’s position that Menorah does not control

because they were not a subcontractor on a construction project

is similarly unavailing at this stage of the litigation.

Accordingly, TecDsign and Fanuka’s motions to dismiss MAC II’s

claim for contractual indemnification are denied.

                               CONCLUSION

    The February 8, 2018 and February 12, 2018 motions to

dismiss are granted in part.      The sole surviving claim by MAC II

against Fanuka and TecDsign is implied contractual

indemnification.

    SO ORDERED:

Dated:    New York, New York
          July 9, 2018


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                                           DENISE COTE
                                  United States District Judge




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